Case 21-10866-SDM   Doc 1   Filed 05/03/21 Entered 05/03/21 17:24:38   Desc Main
                            Document     Page 1 of 5
Case 21-10866-SDM   Doc 1   Filed 05/03/21 Entered 05/03/21 17:24:38   Desc Main
                            Document     Page 2 of 5
Case 21-10866-SDM   Doc 1   Filed 05/03/21 Entered 05/03/21 17:24:38   Desc Main
                            Document     Page 3 of 5
Case 21-10866-SDM   Doc 1   Filed 05/03/21 Entered 05/03/21 17:24:38   Desc Main
                            Document     Page 4 of 5
Case 21-10866-SDM   Doc 1   Filed 05/03/21 Entered 05/03/21 17:24:38   Desc Main
                            Document     Page 5 of 5
